          Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 1 of 6




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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8                                                )
      Nintendo of America Incorporated,                No. CV-18-02282-PHX-SPL
 9                                                )
                                                  )
                       Plaintiff,                 )    ORDER SETTING RULE 16
10                                                )
      vs.                                              CASE MANAGEMENT CONFERENCE
11                                                )
                                                  )
      Jacob Mathias, et al.,                      )
12                                                )
13                     Defendants.                )
                                                  )
14                                                )

15            Pursuant to Rule 16 of the Federal Rules of Civil Procedure,
16            IT IS ORDERED:
17   I.       Case Management Conference
18            A Case Management Conference is set for October 12, 2018 at 11:30 a.m., before
19   the Honorable Judge Steven P. Logan, United States District Judge, in Courtroom 501,
20   Sandra Day O’Connor United States Courthouse, 401 West Washington Street, Phoenix,
21   Arizona 85003. Counsel who will be responsible for trial of the lawsuit for each party, and
22   any party that is not represented by counsel, shall appear and participate in the Case
23   Management Conference and shall have authority to enter into stipulations regarding all
24   matters that may be discussed.
25   II.      Rule 26(f) Meeting
26            The parties are directed to meet and confer no later than fourteen (14) days prior to
27   the Case Management Conference as required by Rule 26(f) of the Federal Rules of Civil
28   Procedure. It is the responsibility of Plaintiff to initiate the Rule 26(f) Meeting, and Plaintiff
         Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 2 of 6




 1   shall promptly and cooperatively participate in the Rule 26(f) Meeting.
 2           At the Rule 26(f) Meeting, the parties shall jointly develop and file with the Clerk
 3   of Court no later than October 2, 2018, each of the following in the form outlined below:
 4   (1) a Joint Rule 26(f) Case Management Report, and (2) a Joint Proposed Rule 16 Case
 5   Management Order. Requests to continue the Case Management Conference or
 6   outstanding motions will not excuse the requirement to participate in a Rule 26(f) meeting
 7   and to submit the parties’ joint report and proposed order.
 8   III.    Joint Rule 26(f) Case Management Report
 9           The parties’ Joint Rule 26(f) Case Management Report shall contain the following
10   information in separately numbered paragraphs:
11           1.   Attendance: The parties who attended the Rule 26(f) Meeting and assisted in
12   developing the parties’ joint submissions;
13           2.   Service: The parties, if any, which have not been served and an explanation of
14   why they have not been served, and any parties which have been served but have not
15   answered or otherwise appeared;
16           3.   Nature of Case: The nature of the case, including a brief description – three
17   (3) pages or less - of the principal factual disputes and legal basis of all claims and
18   defenses;
19           4.   Jurisdiction: The jurisdictional basis for the case, citing specific statutes. If
20   jurisdiction is based on diversity of citizenship, the report shall include a statement of the
21   citizenship of every party and a description of the amount in dispute;1
22           5.   Additions and Amendments: Whether any party expects to add additional
23   parties to the case or otherwise amend the pleadings;
24   1
             The parties are reminded that (1) a corporation is a citizen of the state where it is
     incorporated and the state of its principal place of business, and (2) partnerships and limited
25   liability companies are citizens of every state in which one of their partners or members
     resides. See 28 U.S.C. § 1332(c); Hertz Corp. v. Friend, 559 U.S. 77, 80, 92-93 (2010);
26   Indus. Tectonics v. Aero Alloy, 912 F.2d 1090, 1092 (9th Cir. 1990); Johnson v. Columbia
     Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). The parties are further
27   reminded that the use of fictitious parties (e.g., “John Doe” or “ABC Corporation”) “casts
     no magical spell on a complaint otherwise lacking in diversity jurisdiction.” Fifty Assocs.
28   v. Prudential Ins. Co. of Am., 446 F.2d 1187, 1191 (9th Cir. 1970) (citations omitted).

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         Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 3 of 6




 1           6.   Forthcoming Motions: A listing of contemplated motions and a statement of
 2   the issues to be decided by these motions;
 3           7.   Related Cases: The status of related cases pending before other courts or other
 4   judges of this District;
 5           8.   Mandatory Initial Discovery Pilot Project (“MIDP”):2
 6                MIDP Certification: Certification that each party has received and reviewed
 7   both the Preliminary Order issued in this case and the Attachments to that Order which
 8   concern the MIDP;
 9                MIDP Compliance: The parties’ compliance to date with the MIDP, including
10   whether the parties have exchanged their MIDP Responses;
11                MIDP Issues and Disputes: Any issues that have arisen under the MIDP and
12   a description of those issues. If the parties seek assistance of the Court in resolving a dispute
13   with regard to MIDP Responses, the parties shall include a statement of the dispute they
14   wish the Court to resolve, and attach copies of the disputed disclosures to the report;
15           9.   Discovery Limitations: Suggested changes, if any, in the limitations on
16   discovery (including depositions) imposed by the Federal Rules of Civil Procedure and a
17   discussion of why such changes are proportional to the needs of this case;
18           10. Electronically Stored Information: Any issues relating to preservation,
19   disclosure, or discovery of electronically stored information, including the parties’
20   preservation of electronically stored information and the form or forms in which it will be
21   produced;
22           11. Request for Jury Trial: Whether a jury trial has been requested and whether
23   the request for a jury trial is contested. If the request for a jury trial is contested, the parties
24   shall set forth the reasons why a trial by jury is in dispute;
25
     2
            This case is subject to the MIDP. The General Order, as well as a Notice, Checklist,
26   and Users’ Manual are attached to this Court’s Preliminary Order, and may also be found
     online at the District of Arizona’s Website or the Federal Judicial Center’s Website. It is
27   the responsibility of the parties to carefully read the Court’s Preliminary Order and the
     materials attached to it to ensure familiarity and full compliance with the requirements of
28   the MIDP.

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         Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 4 of 6




 1           12. Trial: The estimated date that the case will be ready for trial, the estimated
 2   length of trial, and any suggestions for shortening the trial;
 3           13. Expedited Trial Alternative: Certification that counsel for each party has
 4   discussed with his or her client, or each pro se litigant has considered, the expedited trial
 5   alternative;3
 6           14. Consent to Magistrate Judge: Whether the parties consent to the transfer of
 7   the case to a United States Magistrate Judge pursuant to 28 U.S.C. § 636(c);
 8           15. Settlement: The prospects for settlement, and whether the case is suitable for
 9   referral to a United States Magistrate Judge for the purpose of holding a settlement
10   conference, or whether the case is suitable for an alternative method of dispute resolution;
11           16. Modified Procedures: Suggested modification of pretrial procedures due to
12   the nature of the case, for example:
13                   ERISA Action: If the parties jointly agree to resolve an action brought pursuant
14   to the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq.,
15   through cross briefing, in lieu of filing the attached Joint Proposed Rule 16 Case
16   Management Order, the parties shall propose a deadline for each of the following:
17                   (a) Initial disclosures;
18                   (b) Completion of disclosure of materials that either party contends should be
19                       considered as part of the record on review;
20                   (c) Filing of the Administrative Record;
21                   (d) Filing of Plaintiff’s Opening Brief;
22                   (e) Filing of Defendant’s Response Brief;
23                   (f) Filing of Plaintiff’s Reply Brief; and
24   3
            Expedited Trial Alternative: The parties may elect to take this case directly to trial,
     whether jury or bench trial. An expedited trial will be held in this case if all parties agree
25   to such a trial. If the parties elect to proceed to an expedited trial, no formal discovery or
     motion practice will occur and a Final Pretrial Conference will be scheduled. Counsel for
26   each party must discuss this expedited trial alternative with his or her client. As part of this
     discussion, counsel must provide his or her client with two good faith estimates of the costs
27   (including attorneys’ fees) of litigating this case to completion: (1) an estimate of the cost
     if an expedited trial is elected, and (2) an estimate of the cost if an expedited trial is not
28   elected and typical discovery and motion practice occur.

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           Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 5 of 6




 1                  (g) Completion of Good Faith Settlement Talks;
 2                  Class Action: If either party is presenting their case as a class action, the parties
 3   shall propose a deadline for each of the following:
 4                  (a) Completion of class certification discovery;
 5                  (b) Filing of any motion for class certification and responsive briefing;
 6                  (c) Filing of any motion for class decertification and responsive briefing;
 7                  Patent Action: If either party believes a hearing pursuant to Markman v.
 8   Westview Instruments, Inc., 517 U.S. 370 (1996) will be necessary, the parties shall propose
 9   a deadline for each of the following:
10                  (a) Disclosure of asserted claims and infringement contentions;
11                  (b) Exchange of proposed claim constructions;
12                  (c) Filing of joint claim construction statement;
13                  (d) Disclosure of experts intended to be used at the Markman hearing;
14                  (e) Filing of Opening Claim Construction Brief;
15                  (f) Filing of Responsive Claim Construction Brief; and
16             17. Additional Matters: Any other matters that will aid the Court and parties in
17   resolving this case in a just, speedy, and inexpensive manner.
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         Case 2:18-cv-02282-SPL Document 22 Filed 09/06/18 Page 6 of 6




 1   IV.     Joint Proposed Rule 16 Case Management Order
 2           A fillable Joint Proposed Rule 16 Case Management Order has been attached to this
 3   Order. The parties shall carefully review, complete, and file the attached Order, providing
 4   the specific dates jointly proposed by the parties for the following deadlines (where
 5   indicated): amendment of pleadings and joining parties; MIDP responses; production of
 6   ESI; completion of discovery; completion of expert disclosures; completion of expert
 7   depositions; filing of dispositive motions; and completion of good faith settlement talks. If
 8   the parties are unable to agree regarding specific deadlines, both proposed dates shall be
 9   included in the proposed order.4
10           Dated this 6th day of September, 2018.
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12
                                                       Honorable Steven P. Logan
13                                                     United States District Judge
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           Example: “Dispositive motions shall be filed no later than 1/1/18 (Plaintiffs), 1/2/18
28   (Defendants).”

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